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Curriculum Vitae of Prof. Saunders

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SaundersGV
Curriculum Vitae
KYLE L. SAUNDERS
May 1, 2010
Department of Political Science Office: 970.491.5751
. 1782 Campus Delivery Fax: 970.491.2490
Colorado State University Email: Kyle.Saunders@ColoState. EDU
Fort Collins, CO 80523-1782 Website: http://lamar.colostate.edu/~ ksaun

_ Academic and Service Positions

AY 2007-present. Associate Professor of Political Science, Colorado State University
e AY 2009-present. Director of Undergraduate Studies, Department of Political Science, Colorado
* State University

AY 2004-2006. Assistant Professor of Political Science, Colorado State University

AY 2001-2003. Assistant Professor of Political Science, Northern Illinois University

Education

Ph.D., 2001, EMORY UNIVERSITY, Political Science—Areas of Concentration: American Politics; Political
Methodology; Elections, Public Opinion and Voting Behavior; American Institutions and Public Policy

B.A., THE OHIO STATE UNIVERSITY, Political Science

Areas of Teaching and Research Expertise

American Politics Elections, Political Parties, Public Opinion & Political Psychology, Political Behavior, Public
Policy)

Political Methodology (Scope and Methods/Research Design, OLS/GLM Regression Modeling, Maximum
Likelihood Estimation, Categorical Data Analysis)

Comparative Politics (Parties, Voting Behavior and Elections)

RESEARCH

Journal Articles

Atkeson, Lonna Rae, Alex N. Adams, Lisa A. Bryant, Luciana Zilberman, and Kyle L. Saunders. 2010 (in press).
“Considering Mixed Mode Surveys for Questions in Political Behavior: Using the Internet and Mail to Get
Quality Data at Reasonable Costs” Political Bebavior 32(4)

Atkeson, Lonna Rae, Lisa A. Bryant, Thad E. Hall, Kyle L, Saunders and R. Michael Alvarez. 2009. “A New
Barrier to Participation: Heterogeneous Application of Voter Identification Policies” Electoral Studies
28(4):66-73.

Abramowitz, Alan I. and Kyle L. Saunders. 2008. “Is Polarization Really a Myth?” Journal of Politics 70(2):542-
555.

Atkeson, Lonna Rae and Kyle L. Saunders. 2007. “The Effect of Election Administration on Voter Confidence: A
Local Matter?” PS: Political Science and Politics 40(4):655-660.

Abramowitz, Alan I. and Kyle L. Saunders, 2006. “Exploring the Bases of Partisanship in the American
Electorate: Social Identity vs. Ideology.” Political Research Quarterly 59(2):175-187,

Saunders, Kyle L., Alan I. Abramowitz, and Jonathan Williamson. 2005. “A New Kind of Balancing Act: Electoral
Certainty and Ticket-Splitting in the 1996 and 2000 Elections.” Political Research Quarterly 58(1):68-77.

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Saunders CV 2

Knotts, H. Gibbs, Alan I, Abramowitz, Susan H. Allen, and Kyle L. Saunders, 2005. “Issues, Ideology, and the
Rise of Republican Identification.” American Review of Politics 26(4):291-304.

Saunders, Kyle L. and Alan I. Abramowitz. 2004. “Ideological Realignment and Active Partisans in the American
Electorate.” American Politics Research 32(3):285-309.

Schmidt, Gregory and Kyle L. Saunders. 2004. “Effective Quotas, Relative Party Magnitude, and the Success of
Female Candidates: Peruvian Municipal Elections in Comparative Perspective.” Comparative Political
Studies 37(6):704-734.

_ Abramowitz, Alan I. and Kyle L. Saunders. 1998. “Ideological Realignment in the US Electorate.” Journal of

Politics 60(3):634-652.

Book Chapters and Other Contributions
Alan I, Abramowitz and Kyle L. Saunders. 2010 (in press). “Is Polarization a Myth?” in Controversies in Voting ©
_ Behavior, 5th Edition by Richard G. Niemi, Herbert F. Weisberg and David Kimball (eds.). Congressional
Quarterly Press: Washington, DC.

Robert J. Duffy, Kyle L. Saunders, and Joshua Dunn. 2010 (in press). “The 2008 Election in Colorado: A
Blueprint for Democratic Success in Red States” in Unnamed Manuscript by David Magleby (ed.) Temple
Press; Philadelphia, PA.

John Straayer, Robert J. Duffy, and Kyle L. Saunders. 2010 (in press), “State of Change: Colorado Politics in the
Twenty-First Century” in State of Change: Colorado Politics in the Twenty-first Century by Courtenay
Daum, Robert Duffy and John Strayer (eds.). University of Colorado Press: Boulder, CO,

Robert J. Duffy and Kyle L. Saunders. 2010 (in press). “What's Going On? The Shifting Terrain of Federal

 Blections in Colorado” in State of Change: Colorado Politics in the Twenty-first Century by Courtenay
Daum, Robert Duffy and John Strayer (eds.). University of Colorado Press: Boulder, CO.

Robert J. Duffy, Kyle L. Saunders, and Andrew Kear, 2010 (in press). “The 2008 Colorado Senate Race” in
Roads to the Congress 2008 by Robert Dewhirst and Robert P, Watson (eds.). Lexington Books: Lanham,
MD.

Robert J. Duffy, Kyle L. Saunders, and Joshua Dunn. 2009, “The 2008 Election in Colorado: A Blueprint for
Democratic Success in Red States” in The Change Election: Money, Mobilization and Persuasion in the
2008 Federal Elections by David Magleby (ed.). BYU Press: Provo, UT.

Atkeson, Lonna R., Luciana Zilberman, Alex N. Adams, and Kyle L. Saunders. 2009. “Using Mixed-Mode Surveys
(Internet and Mail) to Examine General Election Voters” in Elections and Exit Polling by Wendy Alvey and
Fritz Scheuren (eds.), John Wiley and Sons: New York.

Atkeson, Lonna R. and Kyle L. Saunders, 2008. “The Effect of Election Administration on Voter Confidence: A
Local Matter?” in Democracy in the States: Experiments in Elections Reform by Caroline Tolbert, Todd
Donovan, and Bruce Cain (eds.), Brookings Institution Press: Washington, D.C.

Saunders, Kyle L. and Robert J. Duffy. 2008. “Volatility and Volition: The Pendulum Swings High and Hard in
Colorado's 7" District” in War Games: Issues and Resources in the Battle for Control of Congress by David
Magleby and Kelly Patterson (eds.) Paradigm Publishing: Boulder, CO.

Saunders, Kyle L. and Robert J. Duffy. 2007. “Money, Moderation, and Mobilization in the 2004 Colorado
Senate Race: A Blueprint for Democratic Success in Red States” in The Dawning of a New Day?
‘Congressional Elections in the Wake of the Bipartisan Campaign Reform Act by David Magleby, Kelly
Patterson, and Quin Monson (eds.) Prentice-Hall: Upper Saddle River, NJ.

Saunders, Kyle L. and Alan I, Abramowitz. 2006. “The Rise of the Ideological Voter: The Changing Bases of
Partisanship in the American Electorate” in The State of the Parties: The Changing Role of Contemporary
American Parties by John Green and Daniel Coffey (eds.) 5" edition. Rowman and Littlefield: Lanham, MD.

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Saunders CV 3

Abramowitz, Alan I. and Kyle L. Saunders. 2005. "Why Can't We All Just Get Along? The Reality of a Polarized
America" The Forum: A Journal of Applied Research in Contemporary Politics. Vol. 3: No. 2, Article 1. UC-

' Berkeley Electronic Press: Berkeley, CA. http./Avww.bepress.com/forum/vol3/iss2/artl
Saunders, Kyle L. and Robert Duffy. 2005. “The 2004 Colorado US Senate Race” in Dancing without Partners:

How Candidates, Parties, and Interests Groups Interact in the New Campaign Finance Environment by

David Magleby, Kelly Patterson, and Quin Monson (eds.) BYU Press: Provo, UT.
saunders, Kyle L. and Robert Duffy. 2005. “The 2004 Colorado 7" District Congressional Race” in Dancing

without Partners: How Candidates, Parties, and Interests Groups Interact in the New Campaign Finance

Environment by David Magleby, Kelly Patterson, and Quin Monson (eds.) BYU Press: Provo, UT.
Saunders, Kyle L. 2004. “Sampling in American Public Opinion” in Public Opinion and Polling around the

- World: An Historical Encyclopedia by John G. Geer (ed.) ABC-Clio: Santa Barbara, CA.
Saunders, Kyle L. 2004. “Ideology in American Public Opinion” in Public Opinion and Polling around the

World: An Historical Encyclopedia by John G. Geer (ed.) ABC-Clio: Santa Barbara, CA.
Schmidt, Gregory and Kyle L. Saunders. 2003. “Effective Quotas, Relative Party Magnitude, and the Success of
Female Candidates: Peruvian Municipal Elections in Comparative Perspective.” (this is an early
monograph version of the piece in Comparative Political Studies 37(6):704-734 noted above, printed by —

Manuela Ramos Publishing in Peru).
Abramowitz, Alan I. and Kyle L. Saunders, 2002. “Ideological Realignment and US Congressional Elections” in
Understanding Public Opinion, 2" edition by Barbara Norrander and Clyde Wilcox (eds.), Congressional
” in Political

Quarterly: Washington, DC.
Abramowitz, Alan I. and Kyle L, Saunders, 2000. “Ideological Realignment in the US Electorate
‘Parties, Campaigns and Elections. 2000. 1st edition by Robert E. DiClerico (ed.). Prentice-Hall: Upper
Saddle River, NJ. (this is a reprinted version of Journal of Politics 60(3):634-652 noted above.)

Abramowitz, Alan I, and Kyle L. Saunders, 1998, “Party Polarization and Ideological Realignment in the US
Electorate, 1976-1994” in The Parties Respond, 3" edition by L, Sandy Maisel (ed.). Westview: Boulder, CO.

Grants in Process, Received and Executed
“Indirect Campaign Expenditures in the 2008 Colorado

External Grants
” Funded by the Center for the Study of

Saunders, Kyle L. (PI) and Robert J. Duffy. 2008-09.
Presidential, Senatorial, and 4" Congressional District Race.
Elections and Democracy, Brigham Young University and the Pew Charitable Trusts. ($5000)
Saunders, Kyle L. (PI) and Robert J. Duffy. 2006-07. “Indirect Campaign Expenditures in the 2006 Colorado 7
Congressional District Race.” Funded by the Center for the Study of Elections and Democracy, Brigham
Young University and the Pew Charitable Trusts. ($2700)
Saunders, Kyle L. (PI) and Kevin M. Scott. 2005-06. “A Study of the Role of Supreme Court Cases in Shaping
Public Opinion.” Funded by the National Science Foundation (NSE Award No. SES-0519608). ($64900)

1) and Robert J. Duffy. 2004-05. “Indirect Campaign Expenditures in the 2004 Colorado

” Funded by the Center for the Study of Elections

Saunders, Kyle L. (P
Senate. and Colorado 7" Congressional District Races.

and Democracy, Brigham Young University and the Pew Charitable Trusts. ($4300)
Internal Grants and Awards
Saunders, Kyle L. (PI), Michele Betsill, Michael Carolan, and Robert Kling. 2008. “Establishing the Institute for
the Study of Energy and Our Future.” Funded by the Clean Energy Supercluster Granting Program,
Colorado State University. ($15000)
Atkeson, Lonna R. and Kyle L, Saunders (co-PI). 2006. “The 2006 Election Administration Survey.” Funded by

the Research Allocation Committee Grant, University of New Mexico. ($6500)

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Saunders CV 4

Daum, Courtenay W. and Kyle L. Saunders (co-PI). 2006. “Organized Interest Activity and the Supreme Court:
Data Collection Project.” Funded by the Academic Enrichment Program, Colorado State University.
($8300)

Manuscripts in Process

Working Papers

“A Question of Identity: The Effects of Partisan v. Ideological ID” (with Steven Greene and Melinda Jackson)

“Campaign Finance in the Presidential, Senatorial, and Congressional Races of Colorado” (with Robert Duffy)

“Explaining State Level Variation in the Gender Gap in the 2004 Election” (with Steven Greene and Laurel
Elder) -

“The Effect of Redistricting on Candidate Emergence in U.S. House Elections” (with Jonathan Williamson)

“Courting Public Opinion: Supreme Court Impact on Public Opinion Reconsidered” (with Kevin M. Scott)

Recent Presentations of Research (2004-2010 only)

“A Lost Opportunity? Term Limits, Partisanship, and Female State Representation” (Paper to be presented at
the Annual Meeting of the American Political Science Association. September 2010, Washington, DC; with
Courtenay Daum)

“Disparate Impact?: Term Limits, Partisanship and Female State Representation” (Paper presented at the
‘Annual Meeting of the Western Political Science Association. March 2010, San Francisco, CA; with

_ Courtenay Daum)

“The 2009 Election in Colorado” (Paper presented at the Pew Charitable Trusts, facilitated by the Center for
the Study of Elections and Democracy, June 2009, Washington DC; with Robert Duffy and Joshua Dunn)

“A Gomparison of the Effects of Ideological and Partisan Identity” (Paper presented at the Annual Meeting of
the Midwest Political Science Association. April 2008, Chicago, IL; with Steven Greene and Melinda
Jackson)

“Who Shows Voter Identification?” (Paper presented at the American Political Science Association Annual
Meeting’ September 2007, Chicago, Illinois; with Lonna Rae Atkeson, Lisa A. Bryant, Thad E. Hall, and R.
Michael Alvarez)

“Using Mixed-Mode Surveys (Internet and Mail) to Examine General Election Voters” (Paper presented at the
American Association for Public Opinion Research 2007 Annual Conference. May 17-20, 2007, Anaheim,
California; with Lonna Rae Atkeson, Luciana Zilberman, and Alex Adams)

“Volatility and Volition: The Pendulum Swings High and Hard in Colorado's Seventh District” (Paper
presented at the Annual Meeting of the Midwest Political Science Association. April 2007, Chicago, IL; with
Robert Duffy)

“The Effect of Election Administration on Voter Confidence: A Local Matter?” (Paper presented at the Annual
‘Meeting of the Midwest Political Science Association. April 2007, Chicago, IL; with Lonna R. Atkeson)

“Volatility and Volition: The Pendulum Swings High and Hard in Colorado's Seventh District" (Invited paper
presented at the Pew Charitable Trusts Event, Washington DC, as facilitated by the Center for the Study of
Elections and Democracy, Brigham Young University. February 2007; with Robert Duffy)

“The Effect of Election Administration on Voter Confidence: A Local Matter?” (Invited paper presented at the
“The Future of Election Reform and Ethics in the States,” hosted by Kent State University, Department of
Political Science, January 2007, Columbus, Ohio; with Lonna R. Atkeson)

“The Courts and the Salience of Issues” (Paper presented at the Annual Meeting of the American Political
Science Association. September 2006, Phildelphia, PA; with Kevin M. Scott)

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Saunders CV 5

“Explaining State Level Variation in the Gender Gap in the 2004 Election” (Paper presented at the 2006 State
Politics and Policy Conference, Texas Tech University, Lubbock, TX, May 19-20, 2006; with Laurel Elder and
Steven Greene)

“Courting Public Opinion: Supreme Court Impact on Public Opinion Reconsidered” (Paper presented at the
Annual Meeting of the Midwest Political Science Association. April 2006, Chicago, IL; with Kevin Scott)

“Political Engagement and Polarization in the American Electorate” (Paper presented at the Annual Meeting of
the Western Political Science Association. March 2006, Albuquerque, NM; with Alan I. Abramowitz)

“Rational Partisans?: Social Identity, Ideology, and Party Identification in the American Electorate” (Paper
presented at the Annual Meeting of the Southern Political Science Association. January 2006, Atlanta, GA;

_ with Alan I. Abramowitz)

“The Changing Ideological Bases of the Democratic and Republican Parties: 1972-2004” (An invited paper
preserited at The Quadrennial State of the Parties: 2004 & Beyond Conference. Ray C. Bliss Institute,
Akron, OH. October 2005; with Alan I. Abramowitz)

“The Politics of Realignment: Wattenberg Revisited” (Paper presented at Annual Meeting of the Midwest
Political Science Association. April 2005, Chicago, IL; with Jonathan Williamson and Matthew Gunning)

“Independent Spending, Beer, Activism, and Democratic Success: A Study of the Colorado Senate Race” (Paper
presented at Annual Meeting of the Midwest Political Science Association. April 2005, Chicago, IL; with
Robert Duffy)

“The Power of Incumbency and Scandal: A Study of the 2004 Race in Colorado's 7" District.” (Paper
presented at Annual Meeting of the Western Political Science Association. March 2005; with Robert Duffy)

“Indirect Spending, Beer, Activism, and Democratic Success: A Study of the Colorado Senate Race” and “The
Power of Incumbency and Scandal: A Study of the 2004 Race in Colorado's 7" District” (Invited papers
presented at the National Press Club Event, Washington DC, as facilitated by the Center for the Study of
Elections and Democracy, Brigham Young University. February 2005; with Robert Duffy)

“Rational Partisans; Social Identity, Ideology, and Party Identification in the American Electorate” (Paper
‘presented at “Political Parties and Partisanship: A Look at the American Electorate” panel at the Brookings
Institution. September 2004. Washington, DC; with Alan I. Abramowitz)

“Rational Partisans: Social Identity, Ideology, and Party Identification in the American Electorate” (Paper
presented at the Annual Meeting of the American Political Science Association. August 2004. Chicago, IL;
with Alan I. Abramowitz)

“Insights into Undergraduate Methods Teaching” (Roundtable at the Annual Meeting of the Midwest Political
Science Association. April 2004.)

Advanced Research Experience and Training

Program, Scholar. Inter-University Consortium for Political and Social Research, University of Michigan.
Courses completed: Matrix Algebra, Geographic Information Systems, Maximum Likelihood Estimation,
and Multivariate Data Analysis (Summer 1996); Time Series Analysis and Categorical Data Analysis (Summer
1995).

Program Scholar (Undergraduate). Summer Institute of Political Psychology, Ohio State University. Courses
completed in Political Psychology, Political Socialization, and Quasi-Experimental Design (Summer 1993).

TEACHING:
Graduate Courses Offered
Graduate Scope and Research Methods
Introductory Graduate Statistics-Basic Statistics to Linear Regression
Intermediate Graduate Methods-Linear Model/Maximum Likelihood

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Saunders CV 6

Graduate Seminar in Political Psychology
Citizen Politics in the United States

Undergraduate Courses Offered
American Political Parties and Elections
Undergraduate Research Methods
Social Attitudes and Public Opinion
Interest Groups and Social Movements
The American Presidency

_ Introduction to American Politics

Energy Policy and Our Future
Honors Seminar in Political Science

PROFESSIONAL, UNIVERSITY, AND DEPARTMENT ACTIVITIES
Professional Service
Peer Reviewer, (grant/research organizations) National Science Foundation, United States Geological
Survey, Time-sharing Experiments for the Social Sciences (TESS), Corporation for National and
Community Service; (journals) American Political Science Review, American Sociological Review,
Journal of Politics, American Journal of Political Science, Comparative Political Studies, British
Journal of Political Science, Political Research Quarterly, American Politics Research, Social Science
Quarterly, Political Behavior, Legislative Studies Quarterly, Public Choice, State Politics and Policy
Quarterly, Policy Studies Journal, Social Science Journal, Politics & Policy, Illinois Political Science
Review; (publishing houses) Oxford Press, Sage Publishing, Westview Press, Wadsworth Publishing,
+ McGraw-Hill Publishing
Media Appearances and Contacts, (’04-'10)
Television: C-SPAN, Deutsche-Welle (Germany), KCNC-TV 4 (CBS), KGWN-TV 5 (CBS), KMGH-TV 7
~ (ABC), KUSA-TV 9 (NBC), KDVR-TV 31 (FOX)
Radio: National Public Radio, BBC Radio, Minnesota Public Radio, Wisconsin Public Radio, KUNC-FM,
« KCSU-FM, KCOL-AM
Print and Web Media: Roll Call, Time, Congressional Quarterly, Scientific American, The Associated
Press, Reuters, The Weekly Standard, Bloomberg, Politico, CBS Marketwatch, Washington Post,
The Wall Street Journal, The Globe and Mail (Canada), TheLocal.se (Sweden), Denver Post, Rocky
Mountain News, 5280; Denver’s Magazine, Fort Collins Coloradoan, Fort Collins Now, Boulder
Daily Camera, Colorado Springs Gazette, Colorado Springs Independent, Greeley Tribune,
Loveland Reporter-Herald, Vail Daily, Craig Daily Press, Summit Daily News, Cherry Creek News,
Wyoming Tribune Eagle, Casper Star Tribune, Billings Gazette, Jackson Hole Star Tribune,

'. Colorado Independent, Rocky Mountain Chronicle, Rocky Mountain Collegian, Rocky Mountain
Bullhorn, Realclearpolitics.com, Bloomberg.com, Inews.com, cbs4denver.com,
thedenverchannel.com

(:00-'04) WTVO-TV 17, WIFR-TV 23, CLTV, WGN-AM, WLS-AM, WLBK-AM, WDKB-FM, Chicago
Tribune, Chicago Sun-Times, Chicago Daily Herald, Northwest Herald, Northern Star.
Chair and Discussant, Panel on “Is Anybody Listening? Images, Issues, and Voting” Annual Meeting of the
American Political Science Association. August 2010, Washington, DC.
Member, Executive Council, Southwest Political Science Association, AY 2007 and AY 2008.
Discussant, Panel on “The Influence of Party Identification on Turnout and Vote Choice” Annual Meeting
of the American Political Science Association. August 2007, Chicago, IL.

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Saunders CV 7

Section Chair, Political Parties and Interest Groups Section. Annual Meeting of the Southwest Political
Science Association. March 14-17, 2007, Albuquerque, NM.

Chair and Discussant, Panel on “Voting in Red and Blue States” Annual Meeting of the Midwest Political

' §cience Association. April 2006, Chicago, IL.

Chair and Discussant, Panel on “Ideology and Values" Annual Meeting of the Midwest Political Science
Association. April 2005, Chicago, IL.

Chair, Roundtable on “Insights into Undergraduate Methods Instruction” Annual Meeting of the Midwest
Political Science Association. April 2004, Chicago, IL.

Chair'and Discussant, Panel on “The Gender Gap Reconsidered” Annual Meeting of the Southern Political
Science Association. January 2004, Chicago, IL.

Chair, Web Development Committee, Political Organizations and Parties Section of the American Political

* Science Association. AY 2002-04.

Webmaster, Political Organizations and Parties Section of the American Political Science Association. AY
2002-04.

Chair and Discussant, Panel on “Voting Reforms in the Aftermath of the 2000 Election” Annual Meeting of
the Midwest Political Science Association. April 2003, Chicago, IL.

Discussant, Panel on “Trends in Ideology, Partisanship, and the Public Mood” Annual Meeting of the
Midwest Political Science Association. April 2003, Chicago, IL.

Discussant, Panel on “Explaining Turnout in U.S. Elections” Annual Meeting of the American Political
Science Association. August 2002, Boston, MA.

Discussant, Panel on “Considering Innovations in Voting Technology” Annual Meeting of the Midwest
Political Science Association. April 2002, Chicago, IL.

Discussant, Panel on “Third Party Voting? Comparative Political Parties in Perspective” Annual Meeting of
the Midwest Political Science Association. March 2001, Chicago, IL.

Discussant, Panel on “New Looks at Classic Theories in Voting Behavior” Annual Meeting of the Southern
Political Science Association. November 2000, Atlanta, GA.

Chair, Panel on “The Structure and Constraint of Belief Systems” Annual Meeting of the American Political
Science Association. September 2000, Washington, DC.

University and Department Service

Director of Undergraduate Studies, Department of Political Science, Colorado State University, AY 2009.

Member, College Scholarship Committee, College of Liberal Arts, Colorado State University, AY 2009.

Member, University Curriculum Committee, College of the Liberal Arts Section, Colorado State University,
AY 2009.

Member, Executive Committee for the Clean Energy Supercluster (CES), Colorado State University, AY
2007-09.

Methods Field Convenor, Department of Political Science, Colorado State University, AY 2005-06 and 2008-
09.

Member, Ad Hoc Website and Publications Committee, Department of Political Science, Colorado State
University, AY 2004-AY 2007, AY 2009.

Member, Technology Steering Committee, College of Liberal Arts, Colorado State University, AY 2008-09.

Member, Public Policy Search Committee, Department of Political Science, AY 2008.

Chair, Ad Hoc Website and Publications Committee, Department of Political Science, Colorado State
University, AY 2008.

Faculty Representative, Professional Development Program Award Committee, College of Liberal Arts, AY
2007.

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Saunders CV 8

Member, Public Policy Search Committee, Department of Political Science, AY 2007.

American Politics Field Convenor, Department of Political Science, AY 2007.

Member, Executive Committee, Department of Political Science, Colorado State University, AY 2006.

Faculty Representative (College of Liberal Arts, at-large), Faculty Council, Colorado State University, AY
2005 and AY 2006,

Member, Graduate Studies Committee, Department of Political Science, Colorado State University, AY
2005.

Member, International Relations Search Committee, Department of Political Science, Colorado State
University, AY 2005.

Member, Ad Hoc Committee on Strategic Planning, Department of Political Science, Colorado State
University, AY 2004.

Member, American Politics Search Committee (Public Law), Department of Political Science, Colorado State
University, AY 2004.

Member, Undergraduate Studies Committee, Department of Political Science, Colorado State University, AY
2004.

Member, University Honors Committee, Northern Illinois University, AY 2001-AY 2003.

Member, Department Executive Committee, Department of Political Science, Northern Illinois University.
AY 2002 and 2003.

‘Department Honors Coordinator, Department of Political Science, Northern Illinois University. AY 2002
and 2003.

American Government Field Convener, Department of Political Science, Northern Illinois University. AY
2002 and 2003.

Member, Graduate Studies Committee, Department of Political Science, Northern Illinois University. AY
2001 and 2002.

Member, American Politics Search Committee, Department of Political Science, Northern Illinois University.
AY 2001.

Member, Undergraduate Studies Committee, Department of Political Science, Northern Illinois University.
AY 2000.

Member, Political Science Department Undergraduate Mentoring Program, Department of Political Science,
Northern Illinois University. AY 2000-03.

Webmiaster and Developer, Department of Political Science, Northern Illinois University. AY 2000-03.

PhD Dissertation Committee Activity

Emily Ruel! (member)

Andy Kear (member)

James Matthew Gore (outside member (Anthropology)

Michael John Berry (Ph.D., University of Colorado-Boulder, Political Science, Summer 2008)

MA Thesis Committee Activity:

Colter Kinner (co-chair, pro-paper option, Spring 2010)

Christina Farhart (chair, thesis option, Fall 2009)

Greg DiCerbo (member, pro-paper option, Fall 2009)

Joshua Whaley (outside reader (Sociology), thesis option, Summer 2009)
‘Greg Boyle (member, pro-paper option, Summer 2009)

Michelle Lueck (outside reader (Sociology), thesis option, Fall 2008)
Matt Buttice (chair, thesis option, Summer 2006)

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Saunders CV9

Tarali Luke (outside reader (History), thesis option, Summer 2006)
Brian Frederick (member, thesis option, Spring 2004)

Andrew Thomas (member, thesis option, Spring 2004)

Gerald Torrance (member, Starred paper option, Spring 2003)

Undergraduate Honors Thesis Direction:
Lisa Leishman (member, Fall 2007)
‘Maggie Cox (chair, Spring 2007)
Lindsey Deming (chair, Spring 2005)
Autumn Feldman (director, Spring 2004)
Jennifer Guon (director, Spring 2003)
Nicholas Kasmer (member, Spring 2003)
Genevieve Dame (co-director, Spring 2002)

Professional Memberships
‘American Political Science Association
Member, Political Organizations and Parties, Representation and Electoral Systems, Political Methodology,
Political Psychology, Elections, Public Opinion and Voting Behavior sections
Midwest Political Science Association
Southern Political Science Association
Western Political Science Association
American Association of Public Opinion Research
International Society of Political Psychology
American Association of University Professors

References available upon request

